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DOWD, J.

                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                  )
United States of America,                         )    CASE NO. 1:06 CR 368
                                                  )
               Plaintiff,                         )
                                                  )    MEMORANDUM OPINION
       v.                                         )    ANALYZING THE SENTENCING
                                                  )    FACTORS SET FORTH IN 18 U.S.C.
Regina M. Thornton,                               )    SECTION 3553(a)
                                                  )
               Defendant.                         )

                                          I. Introduction

       The Court conducted the sentencing hearing of the defendant Regina M. Thornton. The

Court determined that the defendant’s total offense level was 16 with a criminal history category

of I calling for a sentencing range under the advisory sentencing guidelines of 21 to 27 months.

At the conclusion of the sentencing hearing, the Court concluded that it should vary downward

two offense levels to a sentencing range of 15 to 21 months and sentenced the defendant to

confinement for a period of 15 months with supervised release for a period of three years plus an

order of restitution in the sum of $189,185.77.

                        II. The Analysis Required by 18 U.S.C. § 3553(a)

       The Court sets forth its analysis of the sentencing factors required by Booker and the

statutory guidance provided by 18 U.S.C. §3553(a) as follows:

       (a) Factors to be considered in imposing a sentence.
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       The court shall impose a sentence sufficient, but not greater than necessary, to comply

with the purposes set forth in paragraph (2) of this subsection. The court, in determining the

particular sentence to be imposed, shall consider -

       (1) The Nature and Circumstances of the Offense and the History and
       Characteristics of the Defendant

                From on or about October 213, 2003, through on or about January
                31, 2005, Regina Thornton, was employed in the Claims
                Department of Electrolux in Cleveland, Ohio. During the time
                period alleged, Thornton executed a scheme whereby she created
                false and fraudulent claims which reflected an individual’s name,
                the type of damage and an amount of damage. These fraudulent
                claims cause Electrolux to issue unauthorized checks as payment
                for those claims.

                Nyegran aided and abetted Thornton by providing individuals’
                names to Thornton for the fraudulent claims. Nyegran also
                assisted Thornton by receiving a number of the unauthorized
                checks from Thornton and causing them to be negotiated, at all
                times knowing full well that the subject checks were not
                legitimate.

                From on or about October 23, 2003, through on or about January
                31, 2005, Thornton caused Electrolux to issue 33 unauthorized
                checks for fraudulent claims totaling approximately $189,185.77.
                Nyegran aided and abetted Thornton in negotiating about 15 of
                those checks totaling approximately $89,100.20.

                Upon issuance of each unauthorized check, an electronic wire
                communication was transmitted from Electrolux in Cleveland,
                Ohio, which notified Bank One in Chicago, Illinois, that the
                particular check would soon be presented to the bank for payment.

                On or about January 31, 2005, for the purpose of executing said
                scheme and artifice, the defendant, Regina Thornton, cause to be
                transferred by means of wire communication in interstate
                commerce, writings, signs, signals, pictures, and sounds, to wit the
                last of the wire communications from Electrolux, Cleveland, Ohio,
                to Bank One, Chicago, Illinois, concerning the issuance of check

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                number 00091279 in the amount of $5,780,87. As a result of the
                defendant’s fraudulent conduct, which affected a financial
                institution, Electrolux was defrauded and sustained a loss totaling
                approximately $189,185.77.

       The defendant is 45 years of age and the mother of two adult children. She has no prior

criminal record. Her husband died in 1998 and she was left to raise the two children. She

currently resides with one of her daughters in Bonita Springs, Florida. She is currently

employed as a purchasing assistant and earning nearly $17 per hour. She has no issues with drug

or alcohol abuse.

       The defendant’s acceptance of responsibility is set forth in paragraph 12 of the

presentence report as follows:

                The defendant submitted a written statement describing her actions
                in this case. She also stated why she took the money and some of
                the things she did with the money. Ms. Thornton stated that what
                she did was wrong and that she learned a valuable lesson. It is not
                right to cheat or steal. She is truly sorry for what she did and the
                example she showed her friends and children.

       (2) The Need for the Sentence Imposed

                (A) to reflect the seriousness of the offense, to promote respect
                for the law, and to provide just punishment for the offense;

       The massive nature of the fraud requires a period of incarceration to promote respect for

the law, to the reflect the seriousness of the offense and to provide just punishment for the

offense.

                (B) to afford adequate deterrence to criminal conduct;

       There are constant temptations to people in the business world to engage in fraud because

of perceived needs for more money to accommodate what is believed to be a necessary lifestyle.

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In that situation, incarceration is mandated to afford adequate deterrence to criminal conduct. In

this case, the Court received a letter from the defendant’s daughter which stated in part as

follows:

                If she does go to prison now, then it will only go to prove that life
                truly is unfair and you can do the right thing forever and live
                miserable and eventually die miserable. If she had the money to
                pay them back, this day would never happen, and if she had
                married for money, I would not be here to write this. There are a
                lot of ifs in life, but one thing that is that isn’t an if, and that is, she
                is truly sorry. I know she knew it was the wrong thing to do. It
                was, but if she is incarcerated, it will only make her life situation
                truly a hell, a hell she has only known since was born.

       Such a position reflects an absolute state of denial about the criminal conduct of the

daughter’s mother. A sentence of imprisonment is necessary to afford adequate deterrence to

criminal conduct. In this case, given the defendant’s age, the absence of a criminal record, her

acceptance of responsibility and her potential for making significant restitution, supports, in the

Court’s view, a downward variation of two levels and a sentence of confinement for a period of

15 months.

                (C) to protect the public from further crimes of the defendant;

       The Court is of the view that the sentence of 15 months will protect the public from

further crimes of the defendant, now age 45 and with no prior criminal record.

                (D) to provide the defendant with needed educational or
                vocational training, medical care, or other correctional
                treatment in the most effective manner;

       The Court is of the view that the defendant does not need additional education or

vocational training, medical care of other correctional treatment. Hopefully, she will use her



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time in prison to assist the prison authorities in providing educational opportunities to other

inmates.

                                          IV. Conclusion

       For the reasons set forth herein, a sentence of 15 months with supervised release for three

years and an order of restitution, is a sentence sufficient, but not greater than necessary, to

comply with the purposes of 18 U.S.C. § 3553(a)(2).



       IT IS SO ORDERED.



 December 12, 2006                               /s/ David D. Dowd, Jr.
Date                                           David D. Dowd, Jr.
                                               U.S. District Judge




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